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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON
                                PORTLAND DIVISION


 FEREYDUN TABAIAN and AHMAD                       )
 ASHRAFZADEH,                                     )         Civil Action No. 18-cv-00326-HZ
                                                  )
                Plaintiffs,                       )
                                                  )
        v.                                        )
                                                  )
 INTEL CORPORATION,                               )
                                                  )
                Defendant.                        )
                                                  )


              LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL
              ASSISTANCE BY THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF OREGON REGARDING
                      S. ALI HEJAZI AND S. HAMED SADATI

       The United States District Court for the District of Oregon, on the application of Intel

Corporation (“Intel”), submits this Letter of Request to the Senior Master of the Queen’s Bench

Division, Royal Courts of Justice, London, the Central Authority designated by the United

Kingdom of Great Britain and Northern Ireland (England & Wales) under the Hague Convention

of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters (the

“Hague Convention”).

       The purpose of this request is to seek international judicial assistance in obtaining

otherwise unavailable testimony and documentary evidence for use at trial in the above-

captioned civil lawsuit presently pending before this Court, which involves claims concerning

the alleged infringement and validity of one United States patent. Specifically, this Court

requests assistance as described herein in obtaining both oral testimony and documents for use at

trial from S. Ali Hejazi and S. Hamed Sadati, both of whom are residents of England and both of




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whom are named inventors on the United States patent that is at issue in this lawsuit. The list of

documents requested are described in the attached Schedule A, and the topics on which Messrs.

Hejazi and Sadati are to be examined are described in Schedule B.

         This Court requests the assistance described herein in the interests of justice. The

requested documents and testimony are intended for use at trial and are relevant to numerous

claims and defenses at issue in the above-captioned case. The Court has duly considered English

law with respect to requests for documents and testimony, including The Evidence (Procedure in

Other Jurisdictions) Act 1975, and Civil Procedure Rules, Part 34 (Witnesses, Depositions, and

Evidence for Foreign Courts), as well as the cases of Allergan v Amazon Medica [2018] EWHC

307 (QB); Microtechnologies v Autonomy [2017] EWHC 613 (QB); and In re Asbestos

Insurance Coverage Cases [1985] 1 WLR 331. The Court has concluded that the list of

documents and topics for examination complies with the requirements set forth therein.

         This Court respectfully requests that the Royal Courts of Justice recognize this Letter of

Request and arrange for its execution, in adherence to the Hague Convention and in the interest

of comity.

         This request is made with the understanding that it will in no way require either of

Messrs. Hejazi or Sadati to commit any offense, nor to contravene the sovereign interests of the

United Kingdom, nor will it require Messrs. Hejazi or Sadati to undergo a broader form of

inquiry than they would be required to undergo were this litigation conducted in England and

Wales.


Section I

         1.     Sender:

                The Honorable Marco A. Hernández
                United States District Judge



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                United States District Court for the District of Oregon
                Mark O. Hatfield United States Courthouse
                Room 1507
                1000 Southwest Third Avenue
                Portland, OR 97204
                USA
                Tel. + 1 (503) 326-8210


        The United States District Court for the District of Oregon, which is a competent

court of law and equity and which properly has jurisdiction over this proceeding, has the

power to compel the attendance of witnesses and inspection of documents within its

jurisdiction and has the authority to seek the assistance of foreign governments in

compelling the attendance of witnesses and inspection of documents outside its

jurisdiction.

        2.      Central Authority of the Requested State:

                Senior Master of the Queen’s Bench Division
                Royal Courts of Justice
                Strand
                London WC2A 2LL
                United Kingdom

        3.      Person to whom the executed request is to be returned:

                Renée E. Rothauge
                Markowitz Herbold PC
                1211 SW Fifth Avenue, Suite 3000
                Portland, OR 97204-3730
                USA
                Tel. +1 (503) 295-3085

Section II

        In conformity with Article 3 of the Hague Convention, the undersigned applicant has the

honor to submit the following request:

        4.      Specification of the date by which the requesting authority requires
                receipt of the response to the Letter of Request:




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       As soon as reasonably practicable consistent with the laws of England & Wales and the

schedule of the competent authority receiving the Letter of Request.

       The parties to the above-captioned lawsuit are currently engaged in discovery and are

collecting evidence that will be used at trial. In line with normal procedure in the United States,

this Court must construe the claim terms of the patent at issue as a preliminary issue, in a hearing

commonly referred to as a Markman hearing. Any evidence the parties wish to submit in

relation to claim construction must be submitted in advance of the Markman hearing. Several of

the requested categories for testimony and production of documents are relevant to, inter alia,

the construction of the terms of the asserted patent, and they would need to be collected before

the Markman hearing to permit their use on the issue of claim construction. The collection of

evidence for claim construction will conclude on December 5, 2018, by order of this Court. Intel

thus seeks to examine Messrs. Hejazi and Sadati by September 2018 and no later than November

2018. Intel submits, and the Court agrees, that this is an appropriate schedule and that a Letter of

Request is appropriate at this stage.

       For the avoidance of doubt and having regard to the fact that the examination is relevant

to issues for trial more widely than issues of construction, if it should prove impossible to

schedule the examination in accordance with the timing set out above, this Court asks that the

examination proceed in accordance with what timing can be achieved.

       5.      a.      Requesting judicial authority (Article 3, a):

               The Honorable Marco A. Hernández
               United States District Judge
               United States District Court for the District of Oregon
               Mark O. Hatfield United States Courthouse
               Room 1507
               1000 Southwest Third Avenue
               Portland, OR 97204
               USA




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     Tel. +1 (503) 326-8210


     b.     To the competent authority of (Article 3, a):

     The United Kingdom of Great Britain and Northern Ireland (England &
     Wales).

     c.     Name of the case and any identifying number:

     Tabaian, et al., v. Intel Corporation, No. 18-cv-00326-HZ, pending in the United
     States District Court for the District of Oregon.

6.   The names and addresses of the parties and their representatives
     (Article 3, b):

     a.     Plaintiff/Counterclaim Defendant:

     Fereydun Tabaian and Ahmad Ashrafzadeh

     Representatives

     Jeffrey S. Love
     John D. Vandenberg
     Mark W. Wilson
     Klarquist Sparkman LLP
     One World Trade Center
     121 SW Salmon Street, Suite 1600
     Portland, OR 97204
     USA
     Tel. +1 (903) 757-6400

     Howard L. Close
     Kathleen S. Rose
     Ronald L. Flack, Jr.
     Wright Close & Barger, LLP
     One Riverway, Suite 2200
     Houston, TX 77056
     Tel. +1 (713) 572-4321

     Richard N. Laminack
     Laminack, Pirtle & Martines
     5020 Montrose Blvd., 9th Floor
     Houston, TX 77006
     USA
     Tel. +1 (713) 292-2750




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     Luke Motley IV
     Law Offices of Luke Motley, IV PC
     111 S. Travis Street
     Sherman, TX 75090
     USA
     Tel. +1 (903) 892-9133

     b.      Defendant/Counterclaim-Plaintiff

     Intel Corporation
     2200 Mission College Boulevard
     Santa Clara, CA, 95054
     USA

     Representatives

     Michael J. Summersgill
     Jordan L. Hirsch
     Wilmer Cutler Pickering Hale and Dorr LLP
     60 State Street
     Boston, MA 02109
     USA
     Tel. +1 (617) 526-6000

     Todd C. Zubler
     Wilmer Cutler Pickering Hale and Dorr LLP
     1875 Pennsylvania Avenue NW
     Washington, DC 20006
     USA
     Tel. +1 (202) 663-6636

     Renée E. Rothauge
     Markowitz Herbold PC
     1211 SW Fifth Avenue, Suite 3000
     Portland, OR 97204-3730
     USA
     Tel. +1 (503) 295-3085

     c.      Other parties:

          None.

7.   a.     Nature of the proceedings (divorce, paternity, breach of
     contract, product liability, etc.) (Article 3, c):




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       Civil lawsuit alleging infringement of United States Patent No. 7,027,944 (the “’944

patent”), and counterclaims that the ’944 patent is not infringed and is invalid.

               b.      Summary of facts

       The ’944 patent is titled “Programmable Calibration Circuit for Power Supply Current

Sensing and Droop Loss Compensation” and was issued on April 11, 2006. The patent names

four inventors: Fereydun Tabaian, Ali Hejazi, Hamed Sadati, and Ahmad Ashrafzadeh.

       On February 21, 2018, Messrs. Tabaian and Ashrafzadeh (“the Plaintiffs”) filed suit

against Intel Corporation in the United States District Court for the District of Oregon, alleging

infringement of the ’944 patent. Intel denies the allegations of infringement and has filed

counterclaims seeking a declaratory judgment against Plaintiffs declaring that Intel does not

infringe the ’944 patent and that the ’944 patent is invalid. Copies of Plaintiffs’ Complaint,

Intel’s Answer and Counterclaims, and Plaintiffs’ Answer to Intel’s Counterclaims are attached

herein as Exhibits A, B, and C, respectively. Inventors Hejazi and Sadati are not parties to this

case. They both reside in the United Kingdom and are not represented by Plaintiffs’ counsel.

Accordingly, in order to obtain testimony and documents for use at trial from inventors Hejazi

and Sadati, Intel must proceed through the Hague Convention on the Taking of Evidence Abroad

in Civil or Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555, 847 U.N.T.S. 231.




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       8.      a.      The evidence to be obtained or other judicial act to be performed.
                       (Article 3, d):

       The evidence sought consists of the production of documents and testimony, in each case

for use at trial. It is requested that the Central Authority compel Messrs. Hejazi and Sadati to

produce the documents listed in Schedule A and compel Messrs. Hejazi and Sadati to be

examined under oath as to their knowledge of the topics described in Schedule B. This Court

requests that Intel be permitted to examine Messrs. Hejazi and Sadati preferably by October

2018, and no later than December 2018.

       It is further requested that the Central Authority permit Intel to examine each of Messrs.

Hejazi and Sadati on the topics specific in Schedule B for 7 hours (with the testimony of each

individual to be completed within one day). This is standard under the United States Federal

Rules of Civil Procedure.

               b.      Purpose of the evidence or judicial act sought:

       Messrs. Hejazi and Sadati are named inventors on the ’944 patent that is at issue in this

lawsuit. The testimony of both individuals is relevant to Intel’s defenses and counterclaims of

non-infringement and invalidity. As inventors of the ’944 patent, Messrs. Hejazi and Sadati

have, or have had and can be expected still to have, relevant information regarding the alleged

invention of the ’944 patent, the conception and reduction to practice of the alleged invention

claimed in the patent, alleged use of the invention claimed in the patent, efforts to license and

transfer the patent, the value of the patent, and allegedly novel features of the patent in light of

what was previously known.

       The information requested from Messrs. Hejazi and Sadati is of direct and close

connection to the subject matter of the litigation. The information sought from Messrs. Hejazi




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and Sadati directly relates to Plaintiff’s allegations of patent infringement by Intel and to Intel’s

defenses and counterclaims of non-infringement and invalidity.

       The United Kingdom legislation implementing the Hague Convention, the Evidence

(Proceedings in Other Jurisdictions) Act 1975 has been considered by this Court. This Court has

sought, within its understanding of that legislation, to frame this Letter of Request so that it falls

within the jurisdiction of the Royal Courts of Justice.

       In particular, this Court has considered the issue of relevance in relation to each specific

topic for examination and each request for the production of documents, in respect of which the

attention of this Court has been drawn to Allergan v Amazon Medica [2018] EWHC 307 (QB).

On the basis of that case, this Court understands that the basis on which the English Court

operates may be more restrictive than that with which this Court is familiar. This Court has

nevertheless concluded that the evidence sought by examination or production of documents is

properly confined so as to be relevant in that restricted sense to one or more issues for trial in this

case. This Court considers the topics for examination and each request for the production of

documents to comply with the standards of the Royal Courts of Justice and does not consider this

Request to be an investigatory “fishing expedition.”

       This Court has considered the request for the production of documents on the

understanding that it should comply with the restrictions set out in In re Asbestos Insurance

Coverage Cases [1985] 1 WLR 331. In particular, this Court has considered and is satisfied on

the evidence that the requests are limited to “particular documents separately described” that

exist or at least did exist and that are likely to be in the possession, custody, or power of the

person called upon to produce them.




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       This Court has further considered Microtechnologies v Autonomy [2017] EWHC 613

(QB). This Court understands that the normal rule is that the Royal Courts of Justice will limit

examination of witnesses to non-leading questions in examination-in-chief, but that there is

discretion to order otherwise. This Court, having regard to the position of the witnesses, to the

issues on which testimony is sought, and to the fact that cross-examination with leading

questions would be permitted were this examination to take place in the jurisdiction of this

Court, requests that cross-examination with leading questions be permitted.

       The Court believes that the information sought is relevant and is limited to matters that,

in accordance with the foregoing, this Court can properly request of the Royal Courts of Justice.

The Court believes that this evidence is not available from any other source and that, without it,

the ends of justice cannot be properly met.

SECTION III

       9.      Identity and address of any person to be examined (Article 3, e):

       Mr. S. Ali Hejazi resides at 9 Elm Grove, Cricklewood, London. Mr. S. Hamed Sadati

resides at 5 Beech Drive, Swindon, Wiltshire.

       10.     Questions to be put to the persons examined or statements of the subject
               matter about which they are to be examined (Article 3, f):

       A list of the subjects on which the witnesses are to be examined is included in Schedule

B.

       11.     Any requirement that the evidence be given on oath or affirmation and any
               special form to be used (Article 3, g):

       The Court requests the testimony of the witnesses listed in Schedule B be given under

any oath (including affirmation) applicable under English law. In addition, it is requested that a

court reporter to be provided by Intel be allowed to transcribe the proceedings in accordance




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with the United States Federal Rules of Civil Procedure and also administer an oath to the

witness, and that a videographer provided by Intel be allowed to record the proceedings.

       12.     Special methods or procedures to be followed (e.g. oral or in writing,
               verbatim, transcript or summary, cross-examination, etc.) (Articles 3, i) and
               9):

       The District Court requests that the following procedures be employed:

                  the examination take place in the London offices of Wilmer Cutler Pickering
                  Hale and Dorr LLP at 49 Park Lane, London W1K 1PS or in the offices of
                  such other law firm, barrister’s chambers or court reporters in central London
                  as Intel may specify;

                  the parties’ representatives be allowed to attend and participate in the hearing
                  at which the identified witnesses will be examined;

                  Intel’s legal representatives be permitted to examine and cross-examine the
                  witnesses on the topics identified in Schedule B and Plaintiffs’ legal
                  representatives be permitted to examine and cross-examine the witnesses
                  regarding those same topics. For the avoidance of doubt, the Court requests
                  that attorneys for Intel be permitted to cross-examine the witnesses;

                  you will cause the evidence of the said witnesses to be reduced into writing
                  and all documents produced on such examinations to be duly marked for
                  identification and that you will further be pleased to authenticate such
                  examinations by the seal of your court or in such other way as is in
                  accordance with your procedure and return the written evidence and
                  documents produced to this Court addressed as follows:

                      Renée E. Rothauge
                      Markowitz Herbold PC
                      1211 SW Fifth Avenue, Suite 3000
                      Portland, OR 97204
                      USA;

                  that in addition to any official transcript, a court reporter certified to take
                  verbatim transcription for use in litigation in the United States be allowed to
                  attend and transcribe the proceedings at Intel’s expense;

                  a videographer be permitted to attend and make a video recording of the
                  testimony at Intel’s expense; and

                  no order be made by the Royal Courts of Justice as to the further use of
                  documents and oral evidence, which are already subject to confidentiality and
                  disclosure restrictions in that action.




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       13.    Request for notification of the time and place for the execution of the
              Request and entity and address of any person to be notified (Article 7):

       Please notify the following counsel of the time and place for the execution of the

Request and any correspondence related thereto so that they may be present:


                  Jeffrey S. Love
                  John D. Vandenberg
                  Mark W. Wilson
                  Klarquist Sparkman LLP
                  One World Trade Center
                  121 SW Salmon Street, Suite 1600
                  Portland, OR 97204
                  USA
                  Tel. +1 (903) 757-6400

                  Howard L. Close
                  Kathleen S. Rose
                  Ronald L. Flack, Jr.
                  Wright Close & Barger, LLP
                  One Riverway, Suite 2200
                  Houston, TX 77056
                  USA
                  Tel. +1 (713) 572-4321



                  Michael J. Summersgill
                  Jordan L. Hirsch
                  Wilmer Cutler Pickering Hale and Dorr LLP
                  60 State Street
                  Boston, MA 02109
                  USA
                  Tel. +1 (617) 526-6000


                  Renée E. Rothauge
                  Markowitz Herbold PC
                  1211 SW Fifth Avenue, Suite 3000
                  Portland, OR 97204
                  USA
                  Tel. +1 (503) 295-3085

       14.    Request for attendance or participation of judicial personnel of the
              requesting authority at the execution of the Letter of Request (Article 8):



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       None, save that the Court requests that the examination take place before an examiner

familiar with patents and patent law.


       15.     Specification of privilege or duty to refuse to give evidence under the law of
               the State of origin (Article 11, b):

       The witness may refuse to answer any question propounded if such answer would be

protected by privilege recognized by the Royal Courts of Justice or this Court.

       16.     The fees and costs incurred which are reimbursable under the second
               paragraph of Article 14 or under Article 26 of the Convention

       The fees and costs which are reimbursable under the second paragraph of Article 14 or

under Article 26 of the Convention will be borne by Intel.

                                              *****

       The Court expresses its gratitude to the judicial authorities of England & Wales for their

assistance in executing this Request. This Court expresses its sincere willingness to provide

similar assistance to the Competent Authority if future circumstances should require.

       In sum, in the spirit of comity and reciprocity, the Court hereby requests international

judicial assistance in the form of this Letter of Request for the Royal Courts of Justice to compel

through its usual processes: (1) the production for inspection of the documents listed in Schedule

A; and (2) the testimony under oath of the witnesses identified in Schedule B on the topics

identified in that schedule.



       Dated:__________, 2018                 By: ________________________
                                              The Honorable Marco A. Hernández
                                              United States District Judge
                                              United States District Court for the District
                                              of Oregon




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                              Mark O. Hatfield United States Courthouse
                              Room 1507
                              1000 Southwest Third Avenue
                              Portland, OR 97204
                              USA
                              Tel. +1 (503) 326-8210




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                        SCHEDULE A




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                                       DEFINITIONS

1.         The term “document” means anything in which information of any description is
           recorded.

2.         The “’944 patent” means U.S. Patent No. 7,027,944.



                                 DOCUMENT REQUESTS

Intel Corporation requests production by each witness of the following documents:

     1. The documents sent to or by the witness recording the conception and reduction
        to practice of the invention claimed in the ‘’944 patent.

     2.    The witness’s lab notebook or record relating to the conception or reduction to
          practice of the invention claimed in the ’944 patent.

     3. Documents sent to or by the witness relating to the assignment and licensing of the ’944
        patent.




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                        SCHEDULE B




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                                      DEFINITIONS

1.       “Intel” means the defendant, Intel Corporation, and any and all predecessors, successors,
         divisions, subsidiaries, or joint ventures thereof, together with any and all parent or
         affiliated companies or corporations, and all officers, directors, employees, agents,
         attorneys, representatives, partners, affiliates and all other persons or entities acting or
         purporting to act or that have acted or purported to have acted on behalf of any of the
         foregoing.

2.       “Plaintiffs” means the plaintiffs Fereydun Tabaian (also known as Tony Tabaian) and
         Ahmad Ashrafzadeh, as well as any other person acting or purporting to act on behalf of
         Fereydun Tabaian or Ahmad Ashrafzadeh.

3.       “NuPower” means NuPower Semiconductor, Inc. and any and all predecessors,
         successors, divisions, subsidiaries, or joint ventures thereof, together with any and all
         parent or affiliated companies or corporations, and all officers, directors, employees,
         agents, attorneys, representatives, business partners, affiliates and all other persons or
         entities acting or purporting to act or that have acted or purported to have acted on
         behalf of any of the foregoing.

4.       The term “document” means anything in which information of any description is
         recorded.

5.       The “’944 patent” means U.S. Patent No. 7,027,944.

6.       “Named Inventors” means the inventors listed on the face of the ‘944 patent: Fereydun
         Tabaian, Ali Hejazi, Hamed Sadati, and Ahmad Ashrafzadeh.

7.        “Litigation” means the lawsuit filed by Fereydun Tabaian and Ahmad Ashrafzadeh
         against Intel on February 21, 2018, Civil Action No. 3:18-cv-0326-HZ (D. Or.).

                                 TOPICS FOR EXAMINATION

    Intel seeks to examine under oath Messrs. S. Ali Hejazi and S. Hamed Sadati on the
following topics:

     1. The witness’s education, background, and positions held at NuPower.

     2. The invention claimed in the ’944 patent.

     3. The conception of invention claimed in the ’944 patent, including when and where it
        occurred, the circumstances, and who was involved.

     4. The reduction to practice of the invention claimed in the ’944 patent, including when and
        where it occurred, the circumstances, and who was involved.

     5. The decision to file the application leading to the ’944 patent, including when it occurred,
        the circumstances, and who was involved.




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6. The prosecution of the application that led to the issuance of the ’944 patent.

7. The witness’s communications with NuPower regarding the invention claimed in the
   ’944 patent.

8. The witness’s communications with any of the Named Inventors of the ’944 patent
   regarding the invention claimed in the ’944 patent, the ’944 patent’s worth, or potential
   litigation regarding the ’944 patent, including communications with Plaintiffs or
   Plaintiffs’ counsel.

9. The witness’s discussions with Intel, employees of Intel, or former employees of Intel
   regarding NuPower’s technology or NuPower’s patents, including the ’944 patent.

10. Transfers, assignments, and licenses to the ’944 patent (including efforts to license,
    transfer, or assign the ’944 patent), including the amounts offered, accepted, and paid, the
    parties involved, and the dates of the transfers, assignments, and licenses.

11. Valuations of the ’944 patent.

12. The worth of the ’944 patent to the microprocessor or semiconductor industries.

13. Actual and potential uses of the invention claimed in the ’944 patent, including use in
    products or prototypes.

14. Prior art to the ’944 patent and the alleged novelty of the invention claimed in the ’944
    patent in light of what was previously known in the prior art.

15. NuPower’s policies concerning employee inventions, patents, and intellectual property,
    including any compensation for filing invention disclosures or patents.

16. The witness’s communications with any individual, including Fereydun Tabaian and
    Ahmad Ashrafzadeh, regarding this Litigation.




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